       Case 8:25-cv-00337-BAH           Document 35       Filed 02/05/25      Page 1 of 5



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 PFLAG, INC., et al.,


        Plaintiffs,
                        v.
                                                          Civil Action No. BAH-25-337
 DONALD J. TRUMP, in his official capacity as
 President of the United States, et al.,

        Defendants.



                        PLAINTIFFS’ EMERGENCY MOTION FOR A
                          TEMPORARY RESTRAINING ORDER

       Plaintiffs PFLAG, Inc. and GLMA: Health Professionals Advancing LGBTQ+ Equality

(“GLMA”) (collectively, the “Member Organization Plaintiffs”); Gabe Goe, by and through his

parent and next friend George Goe; George Goe; Bella Boe, by and through her parent and next

friend Bruce Boe; Bruce Boe; Cameron Coe, by and through their parent and next friend Claire

Coe; Claire Coe; Robert Roe, by and through his parent and next friend Rachel Roe; Rachel Roe;

W.G., by and through her parent and next friend Kristen Chapman; Kristen Chapman; Lawrence

Loe; and Dylan Doe (collectively, the “Individual Plaintiffs”) hereby move the Court, pursuant to

Federal Rule of Civil Procedure 65, for the issuance of an order temporarily restraining Defendants

U.S. Department of Health and Human Services (“HHS”); Dorothy A. Fink, in her official capacity

as Acting Secretary of HHS; the Health Resources and Services Administration (“HRSA”); Diana

Espinosa, in her official capacity as Principal Deputy Administrator of HRSA; the National

Institutes of Health (“NIH”); Matthew J. Memoli, in his official capacity as Acting NIH Director,

any subagencies of Defendant HHS, their officers, agents, successors, servants, employees, and

attorneys, and any other persons who are in active concert or participation with them , from
       Case 8:25-cv-00337-BAH           Document 35        Filed 02/05/25      Page 2 of 5



implementing, enforcing, or applying the directive in Section 3(g) of Executive Order 14,168,

Defending Women from Gender Ideology Extremism and Restoring Biological Truth to the

Federal Government, 90 Fed. Reg. 8,615 (Jan. 20, 2025), that “[f]ederal funds shall not be used to

promote gender ideology” and directing all federal agencies to “assess grant conditions and grantee

preferences and ensure grant funds do not promote gender ideology” (the “Gender Identity

Order”); from implementing, enforcing, or applying Section 4 of Executive Order 14,187,

Protecting Children from Chemical and Surgical Mutilation, 90 Fed. Reg. 8,771 (Jan. 28, 2025),

that all federal agencies “immediately take appropriate steps to ensure that institutions receiving

Federal research or education grants end” gender affirming medical care for people under nineteen

(the “Denial of Care Order”); or otherwise conditioning or withholding federal funding based on

the fact that a healthcare entity or health professional provides gender affirming medical care to a

patient under nineteen, including any healthcare institution from which the Individual Plaintiffs,

members of Plaintiff PFLAG, and patients of health professional members of GLMA receive

gender affirming medical care, or at which health professional members of Plaintiff GLMA

conduct federally-funded work.

       As Plaintiffs discuss in greater detail in their Memorandum in Support of Plaintiffs’

Emergency Motion for a Temporary Restraining Order, the Denial of Care and Gender Identity

Orders are unconstitutional and unlawful.

       The grounds for this motion are set forth in the attached memorandum of law and

accompanying exhibits.




                                                 2
       Case 8:25-cv-00337-BAH     Document 35   Filed 02/05/25     Page 3 of 5



Date: February 5, 2025                      Respectfully submitted,

                                            /s/ Zachary B. Cohen
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                                        3
      Case 8:25-cv-00337-BAH   Document 35   Filed 02/05/25         Page 4 of 5



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RDiamond@jenner.com                      granted.

                                         ** Application for admission pro hac vice
                                         pending.

                                         ***Application for admission or admission pro
                                         hac vice forthcoming.

                                         ****Application for admission pro hac vice
                                         pending and admitted only in D.C. Supervised
                                         by principals of the firm admitted in
                                         Massachusetts.




                                     4
       Case 8:25-cv-00337-BAH         Document 35       Filed 02/05/25    Page 5 of 5



                                CERTIFICATE OF SERVICE

       I hereby certify that this motion, the attached memorandum of law, attached exhibits, and

proposed order will be served concurrently with the service of the Summonses and Complaint in this

matter upon the following defendants by certified mail, return receipt requested:

              DONALD J. TRUMP, in his official capacity as President of the United States
              1600 Pennsylvania Ave. NW
              Washington, DC 20220
              U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
              200 Independence Ave. SW
              Washington, DC 20201
              DOROTHY A. FINK, in her official capacity as Acting Secretary of the U.S.
              Department of Health and Human Services
              200 Independence Ave. SW
              Washington, DC 20201
              HEALTH RESOURCES AND SERVICES ADMINISTRATION
              5600 Fishers Lane
              Rockville, MD 20857 (Montgomery County)
              DIANA ESPINOSA, in her official capacity as Principal Deputy Administrator of the
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              5600 Fishers Lane
              Rockville, MD 20857 (Montgomery County)
              NATIONAL INSTITUTES OF HEALTH
              9000 Rockville Pike
              Bethesda, MD 20892 (Montgomery County)
              MATTHEW J. MEMOLI, in his official capacity as Acting NIH Director
              9000 Rockville Pike
              Bethesda, MD 20892 (Montgomery County)


Dated: February 5, 2025                            /s/ Zachary B. Cohen
                                                   Zachary B. Cohen
